
In re Campbell, Barry C.; — Plaintiff; Applying for Permission to Take Bar Examination.
ORDER
Considering the request of petitioner, Barry C. Campbell, to submit an application to sit for the February 2001 Louisiana bar examination, and the response thereto by the Committee on Bar Admissions,
IT IS HEREBY ORDERED that within ten days of the date of this order, petitioner shall be permitted to submit an application to sit for the February 2001 Louisiana bar examination, subject to the condition that should petitioner satisfactorily pass the examination, he may not be admitted to the practice of law in Louisiana until a final, satisfactory report of investigation has been received from the National Conference of Bar Examiners.
/s/ Bernette J. Johnson
Justice, Supreme Court of Louisiana
